Case 18-30849 Document 66 Filed in TXSB on 07/05/18 Page 1 of 10

 

 

 

MOR.t UNITED STATES BANKRUPTCY COURT
cAsENAME; Bendco, |nc. PEnnoNoATE: 2128!18
cnsE NuMaEm 18-30849 olsrnrcrol= rExAs: Southem
PRoFosEo P:_AN 0ATE.~ mwsloN.- Houston
MONTHLY OPERA TING REPORT SUMMARY FOR MON TH YEAR

     

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***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***
C(RCLE DME

 

 

 

 

 

 

 

 

 

 

 

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cAsE NAME: Bendco, inc.
case NuMBErz; 18-30349

 

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cASE NAME: Bendco, [nc.

cAsE NumaER: 18-30849

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cAsE NAME: Bendco. inc.
cnsE NuMaER: 16-30849

    

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Case 18-30849 Document 66 Filed in TXSB on 07/05/18 Page 5 of 10

cAsE NAME: Bendco, |nc.
cAsE NuMBER: 18-30849

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AGING OF ACCOUNTS RECE!VABLE

AD VALOREM.
OTHER TAXES

MONTH

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cAsE NAME: Bendco_ Inc.
cAsE NuMBER: 18~30849

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Case 18-30849 Document-66 Filed in TXSB on 07/05/18 Page 7 of 10

cAsE NAME: Bendco\ lnc.
cASE NuMBER: 18-30849

 

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se NAME: Bendco. Enc.
sE NuMaER: 18-30849

 

 

 

 

 

 

 

 

 

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Cost of sales $60,635.70 $27,208.01 $0.00 $0.00 $0.00 $0.00 $87,843.71
General & administrative expenses $16,827.89 $5,515.02 $0.00 $0.00 $0.00 $0.00 $22,342.91
Property Tax $0.00 310,000.00 $10,000.00
G & A Partners $0.00 $l 1,688.20 $1 1,683.20
Ascerltium Capital $0.00 $5,000.00 $5,000.00
$0.00 $0.00 $0.00
Total $77,463.59 $59,4] 1.23 $0.00 $O.GO $0.00 $0.00 $136,874.82

Addendum to MOR-7

 

 

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cAsE NAME: Bendco. lnc,
cAsl-: lluMBER: 1&30849

CASH ACCOUNT RECONCILIATION
MONTH OF Aprll 1018

 

NUMBER
TYPE OPERA T!NG PA }'ROLL OTHER FUNDS TOTAL

BALANCE 719.36 682.29 341 462.15
lTs ll~l TRANS:T 0.00 $0.00 §

ANDING CHECKS 14 663.43 $14 663.43

 

BANK BALANcl-: $18,116.43 $8,682.29 798.72

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cAsE ama Bendco. lnc.
cAsE NuMaER: 18~30849

PAYMENTS 'I`O INSIDERS AND PROFESSIONALS

Ofthe lotal disburseman shown for the monlh, list the amount paid lo insiders (as defined irl Seclion lOt(Jl)(A)-(F) oflhc U.S. Bonknlplcy Code) and the professiona|s.

March 2018 Apr112018
INSIDERS: NAME/COMP 'I'YPE

l. Rick $5,4|6.00 $6,666.00
2. John $5 .00 $6,250.00
3. Riek $2,000.00

4. John $3 000.00
5.

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$1 41 $17916.00

Marl:h 2018 Apri| 2018 MDNTH

PROFESSIONALS

 

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